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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

In re:                                            Chapter 11

CUREPOINT, LLC,                                   Case No. 22-56501-jwc

                           Debtor.


                               AMENDMENT COVER SHEET

         Curepoint, LLC (the “Debtor”) hereby amends its Voluntary Petition for Non-Individuals

Filing for Bankruptcy to remove its SubChapter V election.


Dated: September 8, 2022

ROUNTREE LEITMAN KLEIN & GEER, LLC

/s/ Will Geer
Will Geer
Georgia Bar No. 940493
Rountree, Leitman, Klein & Geer, LLC
2987 Clairmont Road, Suite 350
Atlanta, Georgia 30329
wgeer@rlkglaw.com
Tel: 404-584-1238
                                                                                                                                                      AMENDED
             Case
     Fill in this     22-56501-pmb
                  information                  Doc
                              to identify your case:   34   Filed 09/08/22 Entered 09/08/22 10:37:03                              Desc Main
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     United States Bankruptcy Court for the:

     ____________________
     Northern              District of _________________
              District of Georgia      (State)
                              22-56501
     Case number (If known): _________________________ Chapter you are filing under:
                                                               Chapter 7
                                                            
                                                            ✔
                                                            
                                                                Chapter 11
                                                                Chapter 12
                                                                                                                                         Check if this is an
                                                                                                                                         ■


                                                               Chapter 13                                                                   amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                              06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                         Curepoint,  LLC
                                            ______________________________________________________________________________________________________




2.    All other names debtor used           ______________________________________________________________________________________________________
      in the last 8 years                   ______________________________________________________________________________________________________
                                            ______________________________________________________________________________________________________
      Include any assumed names,
                                            ______________________________________________________________________________________________________
      trade names, and doing business
      as names                              ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                      Principal place of business                                 Mailing address, if different from principal place
                                                                                                        of business
                                               11175 Cicero Drive                                       _______________________________________________
                                            ______________________________________________
                                            Number     Street                                           Number     Street

                                               Suite 100
                                            ______________________________________________              _______________________________________________
                                                                                                        P.O. Box

                                               Alpharetta                    GA    30022
                                            ______________________________________________              _______________________________________________
                                            City                        State    ZIP Code               City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Fulton County
                                            ______________________________________________
                                            County
                                                                                                        2406 Bellevue Road
                                                                                                        _______________________________________________
                                                                                                        Number     Street

                                                                                                        Suite 7
                                                                                                        _______________________________________________

                                                                                                        Dublin                     GA        31021
                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                 https://www.curepointcancer.com/
                                            ____________________________________________________________________________________________________


6.    Type of debtor                        
                                            ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 1
                                                                                                                                                    AMENDED
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Debtor
                Curepoint, LLC
                _______________________________________________________                                                22-56501
                                                                                                Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                         
                                         ✔ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            621111
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                              are less than $3,024,725. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal income
       debtor” must check the first sub-                      tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                        The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
       “small business debtor”) must                          of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                              in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When                __________________
      List all cases. If more than 1,                                                                                         MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

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Debtor
              Curepoint, LLC
              _______________________________________________________                                                   22-56501
                                                                                                  Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                  Number        Street

                                                                                  ____________________________________________________________________

                                                                                  _______________________________________       _______     ________________
                                                                                  City                                          State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name       ____________________________________________________________________

                                                               Phone              ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49
                                             ✔
                                                                               1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                            5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                       $1,000,001-$10 million
                                                                              ✔
                                                                                                                         $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



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                                                                                                                                                       AMENDED
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               Curepoint, LLC                                                                                            22-56501
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name



                                            $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                   $10,000,001-$50 million
                                                                                   ✔
                                                                                                                           $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                                petition.
      debtor
                                               I have been authorized to file this petition on behalf of the debtor.

                                               I have examined the information in this petition and have a reasonable belief that the information is true and
                                                correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              09/06/2022
                                               Executed on _________________
                                                           MM / DD / YYYY


                                            /s/ Phillip Miles
                                                _____________________________________________              Phillip Miles
                                                                                                          _______________________________________________
                                               Signature of authorized representative of debtor           Printed name

                                                      Designated Manager
                                               Title _________________________________________




18.   Signature of attorney
                                            /s/ Will Geer
                                                _____________________________________________             Date          09/06/2022
                                                                                                                        _________________
                                                Signature of attorney for debtor                                        MM   / DD / YYYY



                                                Will Geer
                                               _________________________________________________________________________________________________
                                               Printed name
                                                Rountree, Leitman, Klein & Geer, LLC
                                               _________________________________________________________________________________________________
                                               Firm name
                                                2987 Clairmont Road Suite 350
                                               _________________________________________________________________________________________________
                                               Number     Street
                                                Atlanta
                                               ____________________________________________________             GA             30329
                                                                                                              ____________ ______________________________
                                               City                                                           State        ZIP Code

                                                678-587-8740
                                               ____________________________________                              wgeer@rlkglaw.com
                                                                                                              __________________________________________
                                               Contact phone                                                  Email address



                                                940493                                                          GA
                                               ______________________________________________________ ____________
                                               Bar number                                             State




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                                 CERTIFICATE OF SERVICE

        I hereby certify that I have filed the foregoing through the Court’s CM/ECF system, which
will provide electronic notice to the following parties:


   •   Taylor L. Dove tdove@huntermaclean.com,
       aharris@huntermaclean.com;lpadgett@huntermaclean.com
   •   David A. Garland dgarland@mcdr-law.com, dgarland@mcdr-
       law.com;hjohnson@mcdr-law.com
   •   Will B. Geer wgeer@rlkglaw.com,
       willgeer@ecf.courtdrive.com;2836@notices.nextchapterbk.com;swenger@rlkg
       law.com;6717577420@filings.docketbird.com
   •   Brian P. Hall bhall@sgrlaw.com, sgr.notifications@gmail.com
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       chapterbk.com
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       om;tbrandenburg@colesbarton.com

Dated: September 8, 2022

/s/ Will Geer
Will Geer
Georgia Bar No. 940493
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Tel: 404-584-1238
